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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF l\/IICHIGAN

United States of America, “.\. ;\%- MD- © q 3’.}-
n Plaillfiff» 035@;2;19-¢11]-301:7
Judge; Unassigne 1
V~ Filed: 03-21-2019 At 10:52 AM

RE: SEA\-ED ‘V'ATTER (EQ:B__)~ . _,

 

Defendant.

 

MOTION AND ORDER TQ SEAL COMPLAINT AND ARREST WARRANT

 

THE UNITED STATES OF AMERI'CA requests the court to seal the
Complaint, Arre_st Warrant, and a11 attendant pain ers for the reason that the defendant
may flee prior to appearance on the complaint

Respectfully submitted,

MATTHEW SCHNEIDER
United States Attome
Rajesh Prasad \
Assistant United States At'comey
211 W. Fol't Street, Suite 2001
Det_roit, 1\/,[1 48226

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David R. Grand

United States l\/Ia istrate Jud e
Entered: MAR 2 3 2039 g g

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AFFHDAVH`

I, Kevin Patrick Doyle, a Special A_gent (SA) with the Federal Bureau of
lnvestigation (FBI), Detroit Division, being duly sworn, depose and state as
follows:

la lNTRODUCTION

1. l have been employed as a Special Agen_t with the FBI since February'ZO 1 0 and
am currently assigned to the FBI Detroit Division’s Organized C.rime Drug
Enforcemen.t Strike Force. As a federal agent, l am authorized to investigate

' violations of laws of the United States and to execute Warrants issued under the
authority of the United States.

2. l make this affidavit from personal knowledge based on my participation in this
investigation, communications with others Who have personal knowledge of the
events and circumstances described herein, review of police reports, and
information gained through training and experience The information outlined

d below is provided for the limited purpose of establishing probable cause and,
therefore, does not contain all details or all facts of which 1 am aware relating to
this investigation

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at the Hawth_orne Inn and Suites on Southfield Road, Detroit, Michigan. They

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initially focused on room 71 1 and a silver, 2012 F ord F-150 pick~up truck with

    

l\/[aryland plates-, registered te,, atching room 711

 

 

throughout the day, CHIEF identified three occupants: VALDEZ, Jr., a
Hispanic male, 5"7” tall, 220 pounds, 45 years old; “G-Man,” a Hispani'c male,
possibly in his 40’s-, 6-feet tall, with a mustache, salt and pepper hair and a large
scar on his cheek; and, “Shorty,” a Hispanic male, 5’4” tall, approximately 300
pounds with cembed hair. At 7:30 pm, SA Cole saw a black male from Detroit,
Michigan, identified as Troy Harris, enter room 711. EXcept lfor two smoke
breaks, Harris stayed in the hotel room until 8:_34 pm, when he and another
black male left. Based on the information contained in paragraphs 9 through

11, l believe the black male was Michael Griffin_ and will refer to him as
“Griffin” throughout this affidavit Griffin and Harris entered a black Chevrolet.
Tahoe with A_labama license plate 25 5 0AP2 and left the hotel.

4. At 11:00 pm, SA Wiegand saw VALDEZ Jr.’s Ford F- 150 arrive at 2274`2_ `West
Chicago, parking in the garage The Alabama black Tahoe was parked on the
street occupied by Griffin. At 11:30 pm, a green pick-up truck arrived at
Ch‘icago-. Gi'iffin exited the Tahoe and entered the residence Five minutes
later, the green pick-up truck departed and Griffin returned to the Alabama
Tahoe. At 11:5.6 pm, the Ford F-150 left the garage and returned to the hotel.

The Alabama Tahoe left 22742 West .Chicago at the same time. '

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5. On June 16, 2016 at 12:20 pm_, agents watched “G~Man"’ and VALDEZ, Ir.,
buy duct tape at Home Depot and later return to the hotel. At 1:06 pm_, Harris
returned to the hotel in a different vehicle He entered room 711 and met with
the three Hispanic mal.es. Eight minutes later, Harris left carrying bags and
went to 22742 West Chicago. At 1:41 pm', “G~l\/Ian” and VALDEZ, Jr., drove
to 22742 West Chicago, and entered the garage Agents soon saw “G-Man” `
and VALDEZ, Jr., working and looking under the dashboard of VALDEZ, Jr.’s,
‘F-150. VALDEZ, Jr., then looked and worked behind the seat. Six minutes
after they arrived, “‘G-Man” and VALDEZ, Jr., left 22742 West Chicago at 1:59
pm and returned to the hotel. Agents saw “G-Man” and VALDEZ, Jr., at the
hotel smiling and high fiving. At 2: 12 pm, VAL`DEZ, Ir., entered his F-150
alone and drove away. Minutes later~, Harris met “G~Man” and “Short`y” at the

hotel and stayed for half an hour. At 3:59 pm, “G-Man” left the hotel room

carrying a large black duffel bag, met a black Li-ncoln l\/lI{-S and drove away.

 
 
 
 

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7. On lune 16, 2016, CHIEF Task Force Agent Zoler interviewed VALDEZ, ,Jr.
After advising VALDEZ, Jr., of his Miranda rights, `VALDEZ, Jr., knowingly

and voluntarily waived those rights and agreed to speak with TFA Zoler.

 
 

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8. l have run a criminal history check on RUBEN VALDEZ_, IR., date of birth: `;_-L
;11_9_7_1, and found convictions for conspiracy to possess with intent to distribute
and to distribute 100 kilograms or more ofl\/.[arijuana from a conviction dated
May 31, 2005. VALDEZ, lr., also has a felony conviction from 1991 for
conspiracy to possess with intent to distribute marijuana

9. On January 9, 2017, FBI Spe'cial Agent Wayne Gerhardt interviewed Michael
Griffin, a black male from Birmingham, Alabama. After advising Griffin of his
Miranda rights, Griffin knowingly and voluntarily waived those rights and
agreed to speak with SA Gerhardt. Griffin stated he would receive 3 to 10

kilograms `o.f cocaine at a time from a Mexican individual he identified as

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“Sh'orty”' at a price oii'$-§€§l;§@@w@i_p£erwl§l£gw?“a§gn?;Ghlfin and “Shorty” began

working together in J unc of 2016. Griffm stated he was introduced to “Shorty”
by Troy‘Harris from Detroit, Michigan in June of 201 6.

IO.Griftin discussed a large seizure of cash involving I~Iarris, in May or the

beginning of June of2016 that occurred in Michigan. Griffin stated that an F~

150 pickup truck, destined for Philadelphia, Was stopped and a false

compartment “j ammed with cash” was located`by polle§¢;-A§COl‘dlngT@"G,rlffin,

 

 

 

 

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11.A subsequent review of call detail records for the phone number Griffin had in
June ‘2016, revealed Griffin was in Detroit on June 14 and 15, 2016. Consistent
With the surveillance by members of FBI CH[EF T.ask Forc'e, Griff`ln’s call
detail records last place him in Detroit at 12:06 am on June 16, 2016.

12.Agents have identified “'G-Man” as Mariano Garcia. Garc'ia’s call detail
records for June 2016 also corroborated the surveillance by FBI CHIEF Tas~k
Force. They place Garcia in Detroit from lone 13 through 1'7, 2016.

111 CONCLUSION
13. Based on the above, there is probable cause to believe R_UB_EN VALDEZ, J'R.

knowingly participated in conspiracies to deliver controlled substances, in

violation of 21 U.S.C. §§ 846, 841(a)(l), and to launder monetary instruments,

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in vininiion or _1 s U.s.e. § 1956 (h), beginning in ran 0r2016 in the Ensieni

District_ of`Michigan.

 

Kevin Patrick Doyle, S_pecial Agent
Federal Bureau of Investigation

MAR 2 3 2019

Sworn to before me and signed in my presence
this 20th day of March 2019.

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DAVID R. GRA_ND
UNITED STATES MAGISTRATE JUDGE

